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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION                 MDL No. 2804
    OPIATE LITIGATION
                                                 Case No. 1:17-md-2804
    This document relates to:
                                                 JUDGE DAN AARON POLSTER
    All Cases Noted on Attached Appendix A

                           MASTER STIPULATION AND ORDER
                          DISMISSING WITH PREJUDICE CLAIMS
                         PURSUANT TO CARDINAL AND CENCORA
                          ALABAMA SETTLEMENT AGREEMENT

          IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel

of record for the Alabama Plaintiffs, the Cardinal Defendants1, and the Cencora Defendants

(including AmerisourceBergen Corporation, AmerisourceBergen Drug Corporation, and H. D.

Smith)2 that, pursuant to the election of Plaintiff to participate in the Cardinal and Cencora

Alabama Settlement Agreement, which is dated February 29, 2024, is binding on Plaintiff, the

Cardinal Defendants and the Cencora Defendants, and has an Effective Date of July 1, 2024 (a

copy of which is attached as Appendix A), all claims of Plaintiff against any Cardinal Defendants

or Cencora Defendants (including AmerisourceBergen Corporation, AmerisourceBergen Drug

Corporation, and H. D. Smith) are hereby voluntarily DISMISSED WITH PREJUDICE, with

each party to bear its own costs.




1
 The Cardinal Defendants are each and every “Released Entity,” set forth in Section I (Paragraph
Y) and Exhibit D (pages 2-10) of the Cardinal and Cencora Alabama Settlement Agreement.

2
 The Cencora Defendants are each and every “Released Entity,” set forth in Section I (Paragraph
Y) and Exhibit D (pages 11-18) of the Cardinal and Cencora Alabama Settlement Agreement.
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Dated: July 16, 2024                          Respectfully submitted,

                                               Agreed as to form and substance:

                                               /s/ Christina D. Crow
                                               Christina D. Crow (ASB-0637-C58C)
                                               Jinks Crow, P.C.
                                               Post Office Box 350
                                               Union Springs, AL 36089
                                               (334) 738-4225
                                               christy.crow@jinkscrow.com

                                               /s/ Matthew D. Conn ______________
                                               Matthew D. Conn (ASB-9628-T83C)
                                               Friedman, Dazzio & Zulanas, P.C.
                                               3800 Corporate Woods Drive
                                               Birmingham, AL 35242
                                               (205) 278-7000
                                               mconn@friedman-lawyers.com

                                               /s/ Keith Jackson
                                               Keith Jackson (ASB-7519-J66B)
                                               Riley & Jackson, P.C.
                                               3530 Independence Drive
                                               Birmingham, AL 35209
                                               (205) 879-5000
                                               kj@rileyjacksonlaw.com


                                               Alabama Local Government Executive
                                               Committee




                                     CERTIFICATE OF SERVICE


       I hereby certify that on this 16th day of July, 2024, I electronically filed the foregoing

with the clerk of the Court through the CM/ECF system, which will electronically serve all

counsel of record.


                                                       /s/ Christina D. Crow




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Subdivision       State Signed with       Name of at least One       Jurisdiction Docket
Name                    Permission        Law Firm of Record                      Number


City of           AL    /s/ Will Sutton   Beasley Allen Crow         NDOH       1:18-op-
Abbeville                                 Methvin Portis & Miles                45437
City of           AL    /s/ Kimberly      Wallace, Jordan, Ratliff   NDOH       1:22-op-
Alabaster               West              & Brandt                              45013
City of           AL    /s/ Matt Conn     Friedman, Dazzio &         NDOH       1:18-op-
Albertville                               Zulanas, P.C.                         45230
City of           AL    /s/ Will Sutton   Beasley Allen Crow         NDOH       1:19-op-
Alexander                                 Methvin Portis & Miles                45827
City
City of           AL    /s/ Will Sutton   Beasley Allen Crow         NDOH       1:18-op-
Anniston                                  Methvin Portis & Miles                45329
City of Arab      AL    /s/ Matt Conn     Friedman, Dazzio &         NDOH       1:18-op-
                                          Zulanas, P.C.                         45230
City of Argo      AL    /s/ Will Sutton   Beasley Allen Crow         NDOH       1:19-op-
                                          Methvin Portis & Miles                45744
City of           AL    /s/ Will Sutton   Beasley Allen Crow         NDOH       1:19-op-
Ashland                                   Methvin Portis & Miles                46102
City of           AL    /s/ Annesley      DeGaris Law, LLC           NDOH       1:20-op-
Ashville                DeGaris                                                 45261
City of Athens    AL    /s/ Keith         Riley & Jackson            NDOH       1:19-op-
                        Jackson                                                 45953
City of Attalla   AL     /s/ Mary Beth    Mantiply & Associates      NDOH       1:20-op-
                        Mantiply                                                45265
City of           AL    /s/ Christina     Jinks, Crow & Dickson,     NDOH       1:20-op-
Auburn                  Crow              P.C.                                  45282
Autauga           AL    /s/ Will Sutton   Beasley Allen Crow         NDOH       1:19-op-
County                                    Methvin Portis & Miles                45086
Baldwin           AL    /s/Steve          Baron & Budd/Levin         NDOH       1:18-op-
County                  Dampier           Papantonio, et al.                    45152
Barbour           AL    /s/ Will Sutton   Beasley Allen Crow         NDOH       1:18-op-
County                                    Methvin Portis & Miles                45244
City of Bay       AL    /s/ Luke          Montgomery Ponder          NDOH       1:22-op-
Minette                 Montgomery                                              45018
Town of Berry     AL    /s/ Keith         Riley & Jackson            NDOH       1:18-op-
                        Jackson                                                 45211
City of           AL    /s/ Kimberly      Wallace, Jordan, Ratliff   NDOH       1:22-op-
Bessemer                West              & Brandt                              45014
Bibb County       AL    /s/ Christina     Jinks, Crow & Dickson,     NDOH       1:18-op-
                        Crow              P.C.                                  45413
City of           AL    /s/ Shayna        Napoli Shkolnik            NDOH       1:17-op-
Birmingham              Sacks                                                   45008



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Blount County AL      /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
                                        Methvin Portis & Miles          45415
City of Boaz     AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
                                        Zulanas, P.C.                   45230
City of Brent    AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
                                        Methvin Portis & Miles          45910
City of          AL   /s/Keith          Riley & Jackson          NDOH   1:21-op-
Brewton               Jackson                                           45113
City of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
Bridgeport                              Zulanas, P.C.                   45634
Town of          AL   /s/ Luke          Montgomery Ponder        NDOH   1:20-op-
Brookwood             Montgomery                                        45272
City of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Brundidge                               Methvin Portis & Miles          46128
Bullock          AL   /s/Christina      Jinks, Crow & Dickson,   NDOH   1:18-op-
County                Crow              P.C.                            45246
Butler County    AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
                                        Methvin Portis & Miles          45441
Town of          AL   /s/ Roe Frazer    Frazer Law Office        NDOH   1:18-op-
Butler                                                                  45216
City of Calera   AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:21-op-
                                        Zulanas, P.C.                   45070
Calhoun          AL   /s/ Luke          Montgomery Ponder        NDOH   1:18-op-
County                Montgomery                                        45191
Town of          AL   /s/ Mary Beth     Mantiply & Associates    NDOH   1:20-op-
Camp Hill             Mantiply                                          45265
City of          AL   /s/ Joel          DiLorenzo Law Firm       NDOH   1:18-op-
Carbon Hill           DiLorenzo                                         45737
Town of          AL   /s/ Mary Beth     Mantiply & Associates    NDOH   1:20-op-
Cedar Bluff           Mantiply                                          45265
City of Center   AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Point                                   Methvin Portis & Miles          46103
City of Centre   AL   /s/ Mary Beth     Mantiply & Associates    NDOH   1:20-op-
                      Mantiply                                          45265
City of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Centreville                             Methvin Portis & Miles          46120
Chambers         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
County                                  Methvin Portis & Miles          45408
Cherokee         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
County                                  Zulanas, P.C.                   45207
Town of          AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
Cherokee              Crow              P.C.                            45005
City of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
Chickasaw                               Methvin Portis & Miles          45115




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Chilton         AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County               Crow              P.C.                            45735
Choctaw         AL   /s/ Annesley      DeGaris Law, LLC         NDOH   1:19-op-
County               DeGaris                                           45770
City of         AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   2:18-op-
Clanton              Crow              P.C.                            46084
Clarke County   AL   /s/ Annesley      DeGaris Law, LLC         NDOH   1:18-op-
                     DeGaris                                           45247
Clay County     AL   /s/ Luke          Montgomery Ponder        NDOH   1:18-op-
                     Montgomery                                        45248
Cleburne      AL     /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
County                                 Methvin Portis & Miles          45566
Town of       AL     /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:20-op-
Cleveland                              Zulanas, P.C.                   45217
Coffee County AL     /s/ Peter         Baron & Budd/Levin       NDOH   1:18-op-
                     Mougey            Papantonio, et al.              45182
Colbert         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
County                                 Zulanas, P.C.                   45005
City of         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:22-op-
Columbiana                             Zulanas, P.C.                   45016
Conecuh         AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County               Crow              P.C.                            45957
Coosa County    AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
                                       Methvin Portis & Miles          45995
City of         AL   /s/ Joel          DiLorenzo Law Firm       NDOH   1:18-op-
Cordova              DiLorenzo                                         45737
Covington       AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
County                                 Methvin Portis & Miles          45751
Crenshaw        AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
County                                 Methvin Portis & Miles          45983
City of         AL   /s/ Peter         Baron & Budd/Levin       NDOH   1:19-op-
Cullman              Mougey            Papantonio, et al.              45248
Cullman         AL   /s/ Peter         Baron & Budd/Levin       NDOH   1:18-op-
County               Mougey            Papantonio, et al.              45227
The Health      AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:19-op-
Care                                   Zulanas, P.C.                   46059
Authority of
Cullman
County d/b/a
Cullman
Regional
Medical
Center, Inc.
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Dadeville                              Methvin Portis & Miles          45779



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Dale County     AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
                                       Methvin Portis & Miles          45561
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Daleville                              Methvin Portis & Miles          45778
Dallas County   AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
                     Crow              P.C.                            45667
City of         AL   /s/ Mary Beth     Mantiply & Associates    NDOH   1:20-op-
Daphne               Mantiply                                          45227
Town of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
Dauphin                                Methvin Portis & Miles          45119
Island
City of         AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
Decatur              Crow              P.C.                            45201
DeKalb          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:20-op-
County                                 Zulanas, P.C.                   45209
City of         AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
Demopolis            Crow              P.C.                            45183
City of Dora    AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
                                       Zulanas, P.C.                   45171
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Dothan                                 Methvin Portis & Miles          45886
Town of         AL   /s/ Peter         Baron & Budd/Levin       NDOH   1:18-op-
Double               Mougey            Papantonio, et al.              45739
Springs
Town of         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
Douglas                                Zulanas, P.C.                   45230
City of East    AL   /s/ Keith         Riley & Jackson          NDOH   1:22-op-
Brewton              Jackson                                           45005
Elmore          AL   /s/ Keith         Riley & Jackson          NDOH   1:22-op-
County               Jackson                                           45003
City of         AL   /s/ Peter         Baron & Budd/Levin       NDOH   1:18-op-
Enterprise           Mougey            Papantonio, et al.              45213
Escambia        AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
County                                 Methvin Portis & Miles          45112
Etowah          AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:17-op-
County               Crow              P.C.                            45101
Sheriff of      AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:17-op-
Etowah               Crow              P.C.                            45101
County
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Eufaula                                Methvin Portis & Miles          46132
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
Evergreen                              Methvin Portis & Miles          45422
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
Fairfield                              Methvin Portis & Miles          45089



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City of         AL   /s/ Keith         Riley & Jackson          NDOH   1:22-op-
Fairhope             Jackson                                           45002
Town of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
Faunsdale                              Methvin Portis & Miles          45122
City of         AL   /s/ Keith         Riley & Jackson          NDOH   1:18-op-
Fayette              Jackson                                           45211
Fayette         AL   /s/ Keith         Riley & Jackson          NDOH   1:18-op-
County               Jackson                                           45211
Sheriff of      AL   /s/ Keith         Riley & Jackson          NDOH   1:18-op-
Fayette              Jackson                                           45211
County
City of         AL   /s/ Joel          DiLorenzo Law Firm       NDOH   1:19-op-
Florence             DiLorenzo                                         45073
City of Foley   AL   /s/ Keith         Riley & Jackson          NDOH   1:20-op-
                     Jackson                                           45287
Town of Fort    AL   /s/ Shayna        Napoli Shkolnik          NDOH   1:19-op-
Deposit              Sacks                                             45427
City of Fort    AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:17-op-
Payne                Crow              P.C.                            45079
Franklin        AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
County                                 Zulanas, P.C.                   45005
City of         AL   /s/ Mary Beth     Mantiply & Associates    NDOH   1:20-op-
Fultondale           Mantiply                                          45265
City of         AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:17-op-
Gadsden              Crow              P.C.                            45101
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Geneva                                 Methvin Portis & Miles          45986
Geneva          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
County                                 Methvin Portis & Miles          45105
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
Georgiana                              Methvin Portis & Miles          45436
Town of         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
Geraldine                              Zulanas, P.C.                   45634
Town of         AL   /s/ Mary Beth     Mantiply & Associates    NDOH   1:20-op-
Gilbertown           Mantiply                                          45265
Town of Grant   AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
                                       Zulanas, P.C.                   45230
City of         AL   /s/ Mary Beth     Mantiply & Associates    NDOH   1:20-op-
Graysville           Mantiply                                          45265
Greene          AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County               Crow              P.C.                            45209
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
Greensboro                             Methvin Portis & Miles          45421
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
Greenville                             Methvin Portis & Miles          45023



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City of Guin     AL   /s/ Peter         Baron & Budd/Levin         NDOH   1:18-op-
                      Mougey            Papantonio, et al.                45457
City of Gulf     AL   /s/ Christina     Jinks, Crow & Dickson,     NDOH   1:22-op-
Shores                Crow              P.C.                              45019
City of          AL   /s/ Matt Conn     Friedman, Dazzio &         NDOH   1:18-op-
Guntersville                            Zulanas, P.C.                     45230
Town of          AL   /s/ Matt Conn     Friedman, Dazzio &         NDOH   1:20-op-
Gurley town                             Zulanas, P.C.                     45217
Hale County      AL   /s/ Will Sutton   Beasley Allen Crow         NDOH   1:18-op-
                                        Methvin Portis & Miles            45420
City of          AL   /s/ Peter         Baron & Budd/Levin         NDOH   1:19-op-
Haleyville            Mougey            Papantonio, et al.                46118
City of          AL   /s/ Peter         Baron & Budd/Levin         NDOH   1:18-op-
Hamilton              Mougey            Papantonio, et al.                45564
Town of          AL   /s/ Matt Conn     Friedman, Dazzio &         NDOH   1:19-op-
Hammondvill                             Zulanas, P.C.                     45135
e
City of          AL   /s/ Christina     Jinks, Crow & Dickson,     NDOH   1:18-op-
Hartselle             Crow              P.C.                              45736
City of          AL   /s/ Will Sutton   Beasley Allen Crow         NDOH   1:19-op-
Headland                                Methvin Portis & Miles            46131
City of Helena   AL   /s/ Matt Conn     Friedman, Dazzio &         NDOH   1:22-op-
                                        Zulanas, P.C.                     45016
City of          AL   /s/ Matt Conn     Friedman, Dazzio &         NDOH   1:18-op-
Henagar                                 Zulanas, P.C.                     45634
Henry County     AL   /s/ Will Sutton   Beasley Allen Crow         NDOH   1:18-op-
                                        Methvin Portis & Miles            45543
City of          AL   /s/ Keith         Riley & Jackson            NDOH   1:19-op-
Homewood              Jackson                                             45973
City of          AL   /s/ Kimberly      Wallace, Jordan, Ratliff   NDOH   1:19-op-
Hoover                West              & Brandt                          45746
Houston          AL   /s/ Will Sutton   Beasley Allen Crow         NDOH   1:18-op-
County                                  Methvin Portis & Miles            45019
City of          AL   /s/ Keith         Riley & Jackson/Napoli     NDOH   1:18-op-
Hueytown              Jackson           Shkolnik                          45558
City of          AL   /s/ Keith         Riley & Jackson            NDOH   1:19-op-
Huntsville            Jackson                                             45947
The Health       AL   /s/ Matt Conn     Friedman, Dazzio &         NDOH   1:19-op-
Care                                    Zulanas, P.C.                     45143
Authority of
the City of
Huntsville
d/b/a HH
Health
System,
Huntsville


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Hospital,
Madison
Hospital,
Huntsville
Hospital for
Women and
Children

HH Health        AL   /s/ Matt Conn   Friedman, Dazzio &   NDOH      1:19-op-
System-                               Zulanas, P.C.                  45143
Morgan, LLC
d/b/a Decatur
Morgan
Hospital-
Decatur and
Decatur
Morgan
Hospital-
Parkway f/k/a
The Health
Care
Authority of
Morgan
County -
Decatur City
HH-Health        AL   /s/ Matt Conn   Friedman, Dazzio &   NDOH      1:19-op-
System-                               Zulanas, P.C.                  45143
Shoals, LLC
d/b/a Helen
Keller
Hospital and
Red Bay
Hospital f/k/a
Colbert
County-
Northwest AL
Health Care
Authority
HH Health        AL   /s/ Matt Conn   Friedman, Dazzio &   NDOH      1:19-op-
System –                              Zulanas, P.C.                  45134
Jackson, LLC
d/b/a
Highlands
Medical
Centers f/k/a
Jackson


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County Health
Care
Authority



HH Health        AL   /s/ Matt Conn   Friedman, Dazzio &         NDOH   1:19-op-
System-                               Zulanas, P.C.                     45143
Athens
Limestone,
LLC d/b/a
Athens
Limestone
Hospital f/k/a
The Health
Care
Authority of
Athens and
Limestone
County
Attentus         AL   /s/ Matt Conn   Friedman, Dazzio &         NDOH   1:19-op-
Moulton,                              Zulanas, P.C.                     45143
LLC, d/b/a
Lawrence
Medical
Center f/k/a
Lawrence
County Health
Care
Authority
City of          AL   /s/ Kimberly    Wallace, Jordan, Ratliff   NDOH   1:22-op-
Irondale              West            & Brandt                          45012
Jackson          AL   /s/ Matt Conn   Friedman, Dazzio &         NDOH   1:18-op-
County                                Zulanas, P.C.                     45634
City of          AL   /s/ Annesley    DeGaris Law, LLC           NDOH   1:20-op-
Jacksonville          DeGaris                                           45261
City of Jasper   AL   /s/ Matt Conn   Friedman, Dazzio &         NDOH   1:18-op-
                                      Zulanas, P.C.                     45171
Jefferson        AL   /s/ Keith       Riley & Jackson/Napoli     NDOH   1:18-op-
County                Jackson         Shkolnik                          45558
Sheriff of       AL   /s/ Keith       Riley & Jackson/Napoli     NDOH   1:18-op-
Jefferson             Jackson         Shkolnik                          45558
County
Town of          AL   /s/ Matt Conn   Friedman, Dazzio &         NDOH   1:20-op-
Killen                                Zulanas, P.C.                     45218




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Lamar County     AL   /s/ Keith         Riley & Jackson          NDOH   1:18-op-
                      Jackson                                           45210
Sheriff of       AL   /s/ Keith         Riley & Jackson          NDOH   1:18-op-
Lamar County          Jackson                                           45210
City of Lanett   AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
                                        Methvin Portis & Miles          46130
Lauderdale       AL   /s/ Keith         Riley & Jackson          NDOH   1:19-op-
County                Jackson                                           45845
Lawrence         AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County                Crow              P.C.                            45228
Lee County       AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:23-op-
                      Crow              P.C.                            45010
City of Leeds    AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
                                        Methvin Portis & Miles          45088
Town of          AL   /s/ Annesley      DeGaris Law, LLC         NDOH   1:20-op-
Leesburg              DeGaris                                           45261
Town of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:19-op-
Leighton                                Zulanas, P.C.                   45136
City of Level    AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
Plains                                  Methvin Portis & Miles          45100
Limestone        AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
County                                  Methvin Portis & Miles          45328
City of          AL   /s/ Luke          Montgomery Ponder        NDOH   1:18-op-
Lincoln               Montgomery                                        45786
City of Linden   AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
                                        Methvin Portis & Miles          45118
Town of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Locust Fork                             Methvin Portis & Miles          45777
Town of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:19-op-
Louisville                              Zulanas, P.C.                   46058
Lowndes          AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County                Crow              P.C.                            45203
City of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
Luverne                                 Methvin Portis & Miles          45109
Macon County     AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
                                        Methvin Portis & Miles          45982
City of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:20-op-
Madison                                 Zulanas, P.C.                   45198
Madison          AL   /s/ Peter         Baron & Budd/Levin       NDOH   1:19-op-
County                Mougey            Papantonio, et al.              45006
Marengo          AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County                Crow              P.C.                            45188
City of          AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
Marion                Crow              P.C.                            45217
Marion           AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
County                                  Zulanas, P.C.                   45171


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Marshall         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
County                                  Zulanas, P.C.                   45230
HH Health        AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
System –                                Zulanas, P.C.                   45538
Marshall, LLC
d/b/a Marshall
Medical
Centers f/k/a
Marshall
County Health
Care
Authority
Town of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
McKenzie                                Methvin Portis & Miles          45435
City of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
Midfield                                Methvin Portis & Miles          45416
City of          AL   /s/ Keith         Riley & Jackson          NDOH   1:21-op-
Millbrook             Jackson                                           45135
City of Mobile   AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
                      Crow              P.C.                            45076
Mobile           AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County                Crow              P.C.                            45186
Monroe           AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:20-op-
County                                  Zulanas, P.C.                   45273
City of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:20-op-
Monroeville                             Zulanas, P.C.                   45273
City of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
Montgomery                              Methvin Portis & Miles          45494
Montgomery       AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
County                                  Methvin Portis & Miles          45445
City of Moody    AL   /s/ Annesley      DeGaris Law, LLC         NDOH   1:20-op-
                      DeGaris                                           45261
Morgan           AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County                Crow              P.C.                            45200
City of          AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
Moulton               Crow              P.C.                            45202
City of          AL   /s/ Keith         Riley & Jackson/Napoli   NDOH   1:18-op-
Mountain              Jackson           Shkolnik                        45558
Brook
Town of          AL   /s/ Luke          Montgomery Ponder        NDOH   1:18-op-
Munford               Montgomery                                        47585
City of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:20-op-
Muscle Shoals                           Zulanas, P.C.                   45268
Town of          AL   /s/ Joel          DiLorenzo Law Firm       NDOH   1:18-op-
Nauvoo                DiLorenzo                                         45737



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City of New      AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
Hope                                    Zulanas, P.C.                   45634
City of          AL   /s/ Luke          Montgomery Ponder        NDOH   1:20-op-
Northport             Montgomery                                        45272
Town of          AL   /s/ Mary Beth     Mantiply & Associates    NDOH   1:20-op-
Oakman                Mantiply                                          45265;
                                                                        1:18-op-
                                                                        45737
City of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:20-op-
Oneonta                                 Zulanas, P.C.                   45210
City of          AL   /s/ Keith         Riley & Jackson          NDOH   1:20-op-
Opelika               Jackson                                           45208
City of Opp      AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
                      Crow              P.C.                            45011
City of        AL     /s/ Keith         Riley & Jackson          NDOH   1:19-op-
Orange Beach          Jackson                                           45784
City of Oxford AL     /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
                                        Methvin Portis & Miles          45774
City of Ozark    AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
                      Crow              P.C.                            45214
Town of          AL   /s/ Joel          DiLorenzo Law Firm       NDOH   1:18-op-
Parrish               DiLorenzo                                         45737
City of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:22-op-
Pelham                                  Zulanas, P.C.                   45016
City of Pell     AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
City                                    Methvin Portis & Miles          45091
Perry County     AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
                                        Methvin Portis & Miles          45158
City of Phenix   AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
City                  Crow              P.C.                            45179
Pickens          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
County                                  Zulanas, P.C.                   45171
City of          AL   /s/ Luke          Montgomery Ponder        NDOH   1:21-op-
Piedmont              Montgomery                                        45049
Pike County      AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
                      Crow              P.C.                            45803
City of          AL   /s/ Keith         Riley & Jackson/Napoli   NDOH   1:18-op-
Pleasant              Jackson           Shkolnik                        45558
Grove
Town of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:20-op-
Powell                                  Zulanas, P.C.                   45209
City of          AL   /s/ Keith         Riley & Jackson          NDOH   1:19-op-
Prattville            Jackson                                           45783
Town of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:20-op-
Priceville                              Zulanas, P.C.                   45217



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City of         AL   /s/ Brian         Braswell Murphy          NDOH   1:18-op-
Prichard             Murphy                                            45690
Town of         AL   /s/ Annesley      DeGaris Law, LLC         NDOH   1:20-op-
Ragland              DeGaris                                           45261
City of         AL   /s/ Annesley      DeGaris Law, LLC         NDOH   1:20-op-
Rainbow City         DeGaris                                           45261
City of         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:19-op-
Rainsville                             Zulanas, P.C.                   45135
Randolph        AL   /s/ Keith         Riley & Jackson          NDOH   1:22-op-
County               Jackson                                           45003
City of Red     AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:19-op-
Bay                                    Zulanas, P.C.                   45136
City of         AL   /s/ Keith         Riley & Jackson          NDOH   1:22-op-
Roanoke              Jackson                                           45011
City of         AL   /s/ Luke          Montgomery Ponder        NDOH   1:20-op-
Robertsdale          Montgomery                                        45272
Town of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Rockford                               Methvin Portis & Miles          45915
Russell         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
County                                 Methvin Portis & Miles          45826
City of         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:19-op-
Russellv;ille                          Zulanas, P.C.                   45136
City of         AL   /s/ Keith         Riley & Jackson          NDOH   1:22-op-
Saraland             Jackson                                           45017
City of         AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
Satsuma                                Methvin Portis & Miles          45116
City of         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
Scottsboro                             Zulanas, P.C.                   45634
City of Selma   AL   /s/ Peter         Baron & Budd/Levin       NDOH   1:18-op-
                     Mougey            Papantonio, et al.              45198
City of       AL     /s/ Keith         Riley & Jackson          NDOH   1:21-op-
Semmes               Jackson                                           45113
Shelby County AL     /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
                                       Methvin Portis & Miles          45414
City of         AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:19-op-
Sheffield                              Zulanas, P.C.                   45136
Town of         AL   /s/ Joel          DiLorenzo Law Firm       NDOH   1:18-op-
Sipsey               DiLorenzo                                         45737
City of         AL   /s/ Keith         Riley & Jackson          NDOH   1:20-op-
Slocomb              Jackson                                           45208
City of         AL   /s/ Keith         Riley & Jackson          NDOH   1:20-op-
Spanish Fort         Jackson                                           45208
City of         AL   /s/ Annesley      DeGaris Law, LLC         NDOH   1:20-op-
Springville          DeGaris                                           45261
St. Clair       AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
County                                 Methvin Portis & Miles          45614


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City of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
Sumiton                                 Zulanas, P.C.                   45171
Sumter           AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County                Crow              P.C.                            45194
Town of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
Sweet Water                             Methvin Portis & Miles          45120
City of          AL   /s/ Keith         Riley & Jackson          NDOH   1:19-op-
Sylacauga             Jackson                                           45900
City of          AL   /s/ Luke          Montgomery Ponder        NDOH   1:18-op-
Talladega             Montgomery                                        45190
Talladega        AL   /s/ Luke          Montgomery Ponder        NDOH   1:18-op-
County                Montgomery                                        45190
Tallapoosa       AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:17-op-
County                Crow              P.C.                            45097
City of          AL   /s/ F. Jerome     Cory Watson, P.C.        NDOH   1:20-op-
Tarrant               Tapley                                            45269
City of          AL   /s/ Annesley      DeGaris Law, LLC         NDOH   1:20-op-
Thomasville           DeGaris                                           45261
City of Troy     AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
                      Crow              P.C.                            45957
City of          AL   /s/ Chad Hobbs    Montgomery Ponder        NDOH   1:18-op-
Tuscaloosa                                                              45553
Tuscaloosa       AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County                Crow              P.C.                            45196
City of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
Tuscumbia                               Zulanas, P.C.                   45005
City of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
Tuskegee                                Methvin Portis & Miles          45544
City of          AL   /s/ Joel          DiLorenzo Law Firm       NDOH   1:18-op-
Trussville            DiLorenzo                                         45192
City of Union    AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
Springs               Crow              P.C.                            45204
City of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:20-op-
Uniontown                               Methvin Portis & Miles          45117
Town of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:19-op-
Vance                                   Methvin Portis & Miles          45909
City of          AL   /s/ Keith         Riley & Jackson          NDOH   1:18-op-
Vernon                Jackson                                           45210
City of          AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:19-op-
Vestavia Hills                          Zulanas, P.C.                   45141
Walker           AL   /s/ Matt Conn     Friedman, Dazzio &       NDOH   1:18-op-
County                                  Zulanas, P.C.                   45171
Washington       AL   /s/ Christina     Jinks, Crow & Dickson,   NDOH   1:18-op-
County                Crow              P.C.                            45180
City of          AL   /s/ Will Sutton   Beasley Allen Crow       NDOH   1:18-op-
Weaver                                  Methvin Portis & Miles          45565


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Town of West   AL    /s/ Keith         Riley & Jackson            NDOH        1:20-op-
Blocton              Jackson                                                  45208
City of        AL    /s/ Keith         Riley & Jackson            NDOH        1:21-op-
Wetumpka             Jackson                                                  45135
Wilcox         AL    /s/ Christina     Jinks, Crow & Dickson,     NDOH        1:18-op-
County               Crow              P.C.                                   45181
City of        AL    /s/ Joel          DiLorenzo Law Firm         NDOH        1:18-op-
Winfield             DiLorenzo                                                45738
Town of        AL    /s/ Matt Conn     Friedman, Dazzio &         NDOH        1:18-op-
Woodville                              Zulanas, P.C.                          45634
Winston        AL    /s/ Christina     Jinks, Crow & Dickson,     NDOH        1:23-op-
County               Crow              P.C.                                   45010
Town of        AL    /s/ Will Sutton   Beasley Allen Crow         NDOH        1:18-op-
Yellow Bluff                           Methvin Portis & Miles                 45423



     SO ORDERED this 17th day of July, 2024.


                                                s/Dan Aaron Polster
                                               Hon. Dan Aaron Polster
                                               United States District Judge




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